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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                    Criminal No. 15-165 (19) (JRT/LIB)

                                Plaintiff,
                                                 ORDER ON REPORT AND
v.                                              RECOMMENDATION OF THE
                                                   MAGISTRATE JUDGE
YALONZO RAMON HULL,

                              Defendant.


      Deidre Y. Aanstad and Melinda A. Williams, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
      States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
      plaintiff.

      Paul C. Engh, PAUL ENGH LAW OFFICE, 200 South Sixth Street,
      Suite 1225, Minneapolis, MN 55402, for defendant.


      Defendant Yalonzo Ramon Hull faces drug charges following an arrest at a cabin

at Spirit Lake Casino in November 2014. Hull moved the Court to suppress evidence

obtained pursuant to his arrest because, in his view, law enforcement arrested him

without probable cause.     United States Magistrate Judge Leo I. Brisbois held an

evidentiary hearing on the matter and issued a Report and Recommendation (“R&R”)

recommending that the Court deny the motion. Hull now objects to the R&R. Because

Hull has not met his burden of showing that his Fourth Amendment rights were violated,

the Court will overrule his objections, adopt the R&R, and deny the motion to suppress.




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                                     BACKGROUND

       The Magistrate Judge held an evidentiary hearing on Hull’s motion to suppress on

October 20, 2015. At the hearing, the United States offered the testimony of two law

enforcement officers, one of whom was Special Agent Travis Zahn from the North

Dakota Bureau of Criminal Investigation. The following facts are based on the testimony

given at that hearing as well as undisputed portions of the R&R’s summary of the facts.

       On November 5, 2014, Zahn received a call from Chief Raymond Cavanaugh of

the Spirit Lake Tribal Police Department, informing Zahn that Chief Cavanaugh was

looking for a female suspect staying at the Spirit Lake Casino with a group of eight black

men. Chief Cavanaugh said he had received information that the group may have been

selling illegal drugs from the casino.

       Zahn traveled to the casino to investigate Chief Cavanaugh’s tip. After arriving,

Zahn observed four black men walking through the casino and watched a casino security

video of a black man later identified as co-defendant Calvin Beasley exiting a particular

casino cabin, entering the back seat of a sports-utility vehicle, exchanging money and a

small plastic bag with a passenger named William Cavanaugh, and then exiting the

vehicle and returning to the cabin. Zahn knew who William Cavanaugh was, and knew

him to be involved in the drug trade. Based on those facts, Zahn gave an oral probable

cause affidavit and received a search warrant to search the cabin; the warrant did not

name Hull or contain facts or a description particular to Hull.

       Then Zahn and other law enforcement officers executed the search warrant.

According to Zahn’s testimony at the evidentiary hearing, Zahn and thirteen officers


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entered the cabin and encountered five individuals, one of whom would later be identified

as Hull. The five individuals “were secured, searched, and sat on the couch or kitchen

table,” and were “handcuffed.” Zahn asked all five why they were there, and Hull replied

that “he was on vacation” and “was a family friend hanging with friends.” During the

search of the cabin, one officer noticed one of the five individuals, Steve Fagan, staring at

a vent. The officers looked in the vent and found 460 pills packaged in distribution-like

packaging.    The officers also found forty to fifty pills in other areas of the cabin.

However, none of the pills were found in Hull’s possession or were tied specifically to

Hull. Also, at some point during the search and seizure – Zahn did not specify in his

testimony whether this occurred before or after the initial seizure – officers found notes in

Hull’s bag, or luggage, and officers initially thought those notes were related to drug

transactions. (Zahn did not testify at the hearing as to whether Hull’s bag was searched

incident to the search-related seizure, or pursuant to the warrant.) Zahn testified that Hull

was arrested “because the totality of the circumstances type of thing,” but Zahn did not

specify in his testimony exactly when in the course of the search Hull was arrested: in

the initial detention, or after the search of the cabin was complete.

       After the hearing, the Magistrate Judge issued his R&R, and recommended that

the Court deny in part Hull’s motion to suppress because Hull’s seizure and arrest were

reasonable.1 Hull’s arrest was proper, according to the Magistrate Judge, because Hull


       1
         Hull’s motion to suppress also requests that the Court suppress evidence stemming from
a separate May 2014 traffic stop. The Magistrate Judge recommended that the Court grant the
motion with respect to the traffic stop evidence because the stop was not supported by reasonable
                                                                 (Footnote continued on next page.)


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was present in the cabin and the officers made a “reasonable inference that all of the

people staying in [the cabin] were aware of the presence of illegal drugs being sold by a

member of the group.” (R&R at 11, Dec. 3, 2015, Docket No. 1,052.) The Magistrate

Judge also relied on the note found in Hull’s bag. (Id.)

       Hull timely filed objections to the R&R and provided a specific narrative of the

events on the day of his arrest. According to Hull, after the officers entered the house he

was “immediately cuffed and then taken to jail without a discernment of what he or she

had done against the law,” and he and the other individuals in the cabin “were not

temporarily detained merely for reasons of officer safety.” (Def.’s Objs. to the R&R

(“Objs.”) at 2, Dec. 16, 2015, Docket No. 1,100; see also Def.’s Mem. in Supp. of Mot.

to Suppress at 2, Oct. 26, 2015, Docket No. 927.) Hull also states he was arrested prior to

the officers’ search of his bag (Objs. at 4), and that the notes found in the bag, which

officers initially thought were drug-related, later turned out to be “not connected to

anything of substance in this case” (id. at 2).


                                        ANALYSIS

I.     STANDARD OF REVIEW

       For a dispositive matter such as a motion to suppress evidence, “[t]he district

judge must consider de novo any objection to the magistrate judge’s recommendation.

The district judge may accept, reject, or modify the recommendation, receive further
____________________________________
(Footnote continued.)
suspicion. (R&R at 13-14.) The United States did not object to the Magistrate Judge’s findings.
The Court will therefore grant Hull’s motion in part with respect to the traffic stop.



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evidence, or resubmit the matter to the magistrate judge with instructions.” Fed. R. Crim.

P. 59(b)(1), (3); see also 28 U.S.C. § 636(b)(1).


II.    SUPPRESSION MOTION

       Although the Fourth Amendment contains no provisions precluding the use of

evidence obtained in violation of its command, the Supreme Court’s decisions “establish

an exclusionary rule that, when applicable, forbids the use of improperly obtained

evidence at trial.” Herring v. United States, 555 U.S. 135, 139 (2009). The proponent of

a motion to suppress evidence on the basis of a Fourth Amendment violation “has the

burden of establishing that his . . . Fourth Amendment rights were violated by the

challenged search or seizure.” Rakas v. Illinois, 439 U.S. 128, 130 n.1 (1978).


II.    HULL’S OBJECTIONS

       Hull objects to the Magistrate Judge’s finding that the officers had probable cause

to arrest him. Under the Fourth Amendment, made applicable to the States by the

Fourteenth Amendment, Mapp v. Ohio, 367 U.S. 643 (1961), the people are “to be secure

in their persons, houses, papers, and effects, against unreasonable searches and seizures,

. . . and no Warrants shall issue, but upon probable cause.” U.S. Const. amend. IV.

“‘[T]he general rule [is] that Fourth Amendment seizures are “reasonable” only if based

on probable cause’ to believe that the individual has committed a crime.” Bailey v.

United States, 133 S. Ct. 1031, 1037 (2013) (quoting Dunaway v. New York, 442 U.S.

200, 213 (1979)). Thus, in order for a government officer to arrest a person, the officer

must generally act with probable cause. Maryland v. Pringle, 540 U.S. 366, 370 (2003).


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When the Court determines after the fact whether an officer had probable cause to arrest

an individual, the Court “examine[s] the events leading up to the arrest, and then

decide[s] ‘whether these historical facts, viewed from the standpoint of an objectively

reasonable police officer, amount to’ probable cause.” Id. at 371 (quoting Ornelas v.

United States, 517 U.S. 690, 696 (1996)).

       But in certain circumstances, an officer’s seizure of a person can be “reasonable”

even when probable cause is lacking. As relevant to this case, for example, an officer

executing a search warrant is permitted to seize, or “detain[,] the occupants of the

premises while a proper search is conducted.” Bailey, 133 S. Ct. at 1037 (quoting

Michigan v. Summers, 452 U.S. 692, 705 (1981)). In those circumstances, the officer

does not need any “particular suspicion that an individual is involved in criminal activity

or poses a specific danger to the officers.” Id. at 1037-38.

       Here, Hull’s argument hinges on when the officers arrested him. According to the

R&R’s statement of the facts, with which the United States agrees, the officers first

detained Hull while executing the search of the cabin, and only after the search, and the

discovery of the pills and the notes in Hull’s bag, was Hull finally arrested. If this

narrative is correct, then Hull’s initial detention required no probable cause because it

was pursuant to Bailey’s rule that officers may detain a person during a valid search, and

then the officers developed probable cause throughout the course of Hull’s permissible




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detention by finding the drugs and the drug notes in Hull’s bag.2 It was only then, after

the search and these discoveries that an arrest was made – and that arrest would be valid.

       According to Hull, however, the R&R’s narrative is wrong. In Hull’s version of

events, the officers never “detained” him during the search; the officers just arrested him.

According to Hull, the officers made their arrest right away – and it was not until after

Hull’s arrest that the drugs were found and the officers discovered the notes in his bag.

Under Hull’s version of events, therefore, the main facts relied upon by the United States

to support their argument that the officers had probable cause – the note and the vacation

statement – were unknown by the officers at the time of the arrest.

       Yet the evidence before the Court does not make clear whether officers discovered

the note or elicited the statement before or after the arrest. Zahn testified that Hull was

arrested, but not when he was arrested.            Zahn indicated that officers “secured,”

“searched,” and “handcuffed” Hull when officers searched the home, but did not state

whether those actions constituted an arrest or a detention pursuant to the search. And

while Zahn testified that officers discovered notes in Hull’s bag, Zahn never stated when

the notes were discovered in relation to Hull’s seizure.3

       2
          The officers’ search of Hull’s bag was permissible both because the warrant authorized
it, United States v. Ross, 456 U.S. 798, 820-21 (1982), and because, assuming the bag was within
Hull’s reach, officers were permitted to search the bag to ensure their own safety, Los Angeles
Cty. v. Rettele, 550 U.S. 609, 614-15 (2007).
       3
         Hull also told officers he was visiting Spirit Lake on vacation (in North Dakota, in
November), and Zahn suggested that this statement bolstered the officers’ probable cause
determination. The Court, however, is not prepared to find this statement a valid basis for
probable cause. Casinos are a destination for many innocent vacationers, even in the winter.




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      Hull, as the party seeking the suppression of evidence, bears the burden of

showing that his Fourth Amendment rights were violated, but he has not met it. When

faced with two competing narratives – one offered by Hull, and one offered by the United

States – neither of which are clearly supported by the evidence offered at the suppression

hearing, the Court may not merely choose to accept Hull’s narrative as true. And in the

absence of evidence supporting Hull’s narrative as the one that is correct, the Court must

consider that it may be the United States’ narrative that is true. Hull has not shown by a

preponderance of the evidence that officers did not properly detain him pursuant to their

search of the cabin, then develop probable cause with the drugs and the notes in Hull’s

bag, and only then arrest him. Thus, on the limited facts available, the Magistrate

Judge’s recommendation was correct, and Hull’s motion must be denied.

      Additionally, Hull argues that his mere presence in the cabin where drugs were

found – since the drugs were not found on his person or in his possession – could not

serve as a basis for probable cause because “a person’s mere propinquity to others

independently suspected of criminal activity does not, without more, give rise to

probable cause.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979) (emphasis added) (citing

Sibron v. New York, 392 U.S. 40, 62-63 (1968)). But here the officers did have more:

probable cause to arrest Hull was based not only on Hull’s presence in the cabin where

the drugs were found, but also on the notes found in Hull’s bag that, according to Zahn,

officers initially thought were drug related.    Hull states that the notes were later

determined to be insignificant to this case, but he does not elaborate. Regardless of the

notes’ significance in hindsight, at the time they were discovered the notes could have


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formed part of a basis for probable cause if a reasonable officer, viewing the notes as he

did in context, could have thought the notes to be related to illegal activity, and tied those

notes to Hull. The Court finds that a reasonable officer could have made exactly that

type of determination here. Therefore Hull’s arrest was supported by probable cause.

       Additionally, although the Court need not reach the issue, the Court notes that

even if the notes were not a part of this case, Hull’s presence in the cabin where the drugs

were found would likely be sufficient to create probable cause. Where officers make

observations giving rise to probable cause that drug dealing is occurring in a small space,

and only a small number of people are located in that space, then officers generally have

probable cause to suspect that all of the individuals present are engaged in illegal drug

activities because drug dealing is “an enterprise to which a dealer would be unlikely to

admit an innocent person with the potential to furnish evidence against him.” Pringle,

540 U.S. at 373. For example, in Pringle, officers found five baggies of cocaine in the

backseat of a vehicle, wedged in between the raised armrest and the backseat, and then

arrested all three individuals in the car, including Pringle, who was sitting in the car’s

front seat. Id. at 368-69. The Supreme Court held that “it was reasonable for the officer

to infer a common enterprise among the three men” because (1) Pringle and his

companions were in a relatively small automobile; (2) car passengers “will often be

engaged in a common enterprise with the driver, and have the same interest in concealing

the fruits or evidence of their wrongdoing,” and (3) drug dealers are unlikely to admit

innocent people into their enterprise for fear of furnishing incriminating evidence to

someone uninvolved. Id. at 373 (quoting Wyoming v. Houghton, 526 U.S. 295, 304-05


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(1999)). Those findings are just as true for five individuals in a small cabin with over

460 pills. To be sure, Hull’s presence in the cabin where the drugs were found does not

mean he is guilty of a crime, but it does mean that there was probable cause to suspect

that he might be guilty of a crime.

       Hull insists this case is more like Ybarra v. Illinois than it is Pringle. In Ybarra,

officers suspected that a bartender was storing heroin behind the bar at a tavern, so the

officers obtained a search warrant to search the tavern and the bartender for heroin and

evidence of heroin sales. 444 U.S. at 87-88. When the officers executed the search

warrant, they performed a patdown of the nine to thirteen customers who were in the

tavern – but when officers approached Ybarra, who was one of the customers, they went

beyond the standard patdown and searched his cigarette pack, locating heroin. Id. at 88-

89. Ybarra was later found guilty of possession after losing a suppression motion. Id. at

89. On appeal, the Supreme Court reversed on the suppression issue, holding that neither

the warrant nor anything else gave the officers probable cause to suspect Ybarra had

committed a crime. Id. at 92-96. But as the Court noted in Pringle, Ybarra’s holding

depended heavily on (1) the fact that Ybarra was in a place of public accommodation – a

tavern – and not a small, private space; (2) Ybarra was present with a greater number of

individuals than Pringle; and (3) officers had no reason to suspect that the bartender

would admit all of the bar’s customers into his suspected drug dealing enterprise.

Ybarra, 540 U.S. at 372-73. The opposite is true in this case: Hull was in a small private

cabin with only four other people, and officers could assume that the drug dealer or




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dealers would only permit individuals involved in the enterprise to be present in the

cabin.4

          The Court therefore finds that Hull’s arrest was supported by probable cause.


                                            ORDER

          Based on the foregoing, and the records, files, and proceedings herein, the Court

OVERRULES Hull’s objections to the Report and Recommendation [Docket No. 1100],

ADOPTS the Report and Recommendation of the Magistrate Judge dated December 3,

2015 [Docket No. 1052]. IT IS HEREBY ORDERED that Hull’s Motion to Suppress

Evidence of Search and Seizure [Docket No. 634] is GRANTED in part and DENIED

in part, as set forth in the Court’s opinion.


DATED: June 27, 2016                                    ____s/                      ____
at Minneapolis, Minnesota.                                JOHN R. TUNHEIM
                                                        United States District Judge




          4
          The Eighth Circuit also recently rejected an attempt to square a case with Ybarra. In
Bernini v. City of St. Paul, officers arrested a group of approximately 400 individuals suspected
of being part of a large and potentially riotous group protesting the 2008 Republican National
Convention. 665 F.3d 997, 1002 (8th Cir. 2012). Thirty-two of those arrested filed a § 1983
action against the officers, and the Eighth Circuit held that as long as the officers had probable
cause to suspect that the “unit” of individuals were participating in an arrestable offense, the
Fourth Amendment did not require officers to have particularized suspicion as to each individual.
Id. at 1003-04.




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